         Case 5:19-cr-00369-XR Document 323 Filed 02/28/22 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                     §
                                             §
vs.                                          §      CRIMINAL NO: SA:19-CR-00369(7)-XR
                                             §
(7) JENNIFER GARZA                           §

                                          ORDER

       On this day came on to be considered Defendant’s Unopposed Sealed Motion to

Continue Sentencing scheduled for March 1, 2022 . Upon consideration, the Court is of the

opinion that the sealed motion should be GRANTED.

       It is hereby ORDERED that Defendant’s Unopposed Sealed Motion to Continue

Sentencing (Doc. #322) is GRANTED.

       It is FURTHER ORDERED that the above entitled and numbered cause is rescheduled

for Sentencing on Wednesday, March 16, 2022, at 1:30 PM in Courtroom H, on the Thrid

Floor of the United States Courthouse, 262 W. Nueva Street, San Antonio, Texas.

       Signed this 28th day of February, 2022.




                                                 ______________________________
                                                 XAVIER RODRIGUEZ
                                                 UNITED STATES DISTRICT JUDGE
